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SOUTHERN DISTRICT OF NEW YORK i °
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UNITED STATES OF AMERICA "
ORDER
- YY. =
19 Cr, 721 (LAK)
AMADO ALONZO,
Defendant.
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WHEREAS, with the defendant’s consent, his guilty plea allocution was made
before United States Magistrate Judge Debra Freeman on January 10, 2020;

WHEREAS, a transcript of the allocution was made and thereafter was transmitted
to the District Court;

WHEREAS, a copy of the plea agreement between the defendant and the
Government was transmitted to the District Court;

WHEREAS, upon review of that transcript, plea agreement, and above-referenced
stipulation, this Court has determined that the defendant entered the guilty plea knowingly and
voluntarily and that there was a factual basis for the guilty plea;

IT IS HEREBY ORDERED that the defendant’s guilty plea is accepted.

SO ORDERED:

Dated: New Y¢rk, New York Vv
Lal

THE HONORA®SLE LEWIS A. KAPLAN
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK

 

 
